                                                               'XUDWLRQ 22 min
                          Case 1:21-mj-00880-UA Document 4 Filed  01/29/21 Page 1 of 1 $7 7
                                                               3URFHHGLQJYLD&RXUW&DOO
           21-MJ-00880
DOCKET No. _____________________________                                        JEREMY SPENCE
                                                                      DEFENDANT _______________________________________


      CHRISTINE MAGDO
AUSA ___________________________________                                             SYLVIE LEVINE
                                                                      DEF.’S COUNSEL ___________________________________
                                                                       RETAINED   ✔ FEDERAL DEFENDERS    CJA    PRESENTMENT ONLY
   _____________________ INTERPRETER NEEDED
                                                                                   DEFENDANT WAIVES PRETRIAL REPORT

✔ Rule 5          Rule 9        Rule 5(c)(3)      Detention Hrg.                        1/26/21
                                                                         DATE OF ARREST ________________           VOL. SURR.
                                                                                        7:30 a.m.
                                                                         TIME OF ARREST ________________           ON WRIT
   Other: ________________________________________                                             12:15 pm
                                                                         TIME OF PRESENTMENT __________


                                                             BAIL DISPOSITION
                                                                                                                   SEE SEP. ORDER
  DETENTION ON CONSENT W/O PREJUDICE              DETENTION: RISK OF FLIGHT/DANGER           SEE TRANSCRIPT
  DETENTION HEARING SCHEDULED FOR: ________________________
✔ AGREED CONDITIONS OF RELEASE
  DEF. RELEASED ON OWN RECOGNIZANCE
✔ $_______________
   100,000         PRB ✔ ________FRP
                         2
  SECURED BY $_______________ CASH/PROPERTY: __________________________________________________________
✔ TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
                                    D RI (and points in between for purposes of travel only)
  TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
✔ SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

✔ PRETRIAL SUPERVISION:    REGULAR         STRICT ✔ AS DIRECTED BY PRETRIAL SERVICES
✔ DRUG TESTING/TREATMT AS DIRECTED BY PTS ✔ MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
  DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

   HOME INCARCERATION        HOME DETENTION      CURFEW       ELECTRONIC MONITORING     GPS
   DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

   DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]     DEF. TO CONTINUE OR START EDUCATION PROGRAM
   DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
✔ DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
                                                                                           2/5/21
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Def not to be employed in a position that involves receiving or holding money in a position of trust. Any employment
must be verified and approved by PTS.

Def. to reside with his parents in Bristol, RI, and not to move without permission of PTS.


Defendant advised by the Court of the right to be present, and consented to proceed by remote means.

   DEF. ARRAIGNED; PLEADS NOT GUILTY                          CONFERENCE BEFORE D.J. ON _______________
   DEF. WAIVES INDICTMENT
   SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________

For Rule 5(c)(3) Cases:
   IDENTITY HEARING WAIVED                                            DEFENDANT TO BE REMOVED
   PRELIMINARY HEARING IN SDNY WAIVED                                 CONTROL DATE FOR REMOVAL: _______________


                          2/25/21
PRELIMINARY HEARING DATE: ________________                           ✔ ON DEFENDANT’S CONSENT


      JANUARY 29, 2021
DATE: ______________________                                                 __________________________________________________
                                                                             UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
WHITE (original) – COURT FILE        PINK – U.S. ATTORNEY’S OFFICE        YELLOW – U.S. MARSHAL   GREEN – PRETRIAL SERVICES AGENCY
Rev’d 2016
